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Filing # 54954776 E-Filed 04/12/2017 08:07:33 AM
                              IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT IN
                                         AND FOR PASCO COUNTY, FLORIDA

        STEVEN R. OLSON AND
        VINCENZA OLSON, individually,
                                                                     Case No.
                Plaintiffs,

        V.


        CALIBER HOME LOANS, INC.,

                Defendant.


                              PLAINTIFFS' FIRST REQUEST FOR ADMISSIONS

                Plaintiffs, Steve R. Olson and Vincenza Olson, by and through the undersigned attorney,

        hereby request that the Defendant, Caliber Home Loans, Inc. admit or deny the following

        statements:


        Instructions & Definitions

             1. If you interpose an objection to providing the requested information please set forth the
                 following:

                    a. The entire basis for your objection including reference to any statutory,
                       administrative rule/regulation, case law or common law authority for such an
                       objection.

                    b. If your objection is based upon the work product doctrine, set forth the following
                       information:

                              i. The entire basis for your objection including reference to any statutory,
                                 administrative rule/regulation, case law or common law authority for such
                                 an objection.

                              ii. If your objection is based upon the work product doctrine, set for the
                                  following information:

                                     1. Whether or not the requested information exists and the general
                                        nature or such items (ex. tape recording of Plaintiff).

                                     2. IDENTIFY the individuals who have possession of the requested
                                         information.
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                           3. The date the requested information or items were created and the
                               date same was obtained by you.

                   iii. If any objection is made based upon acclaim of privilege as to any
                        response, Defendant shall state the legal basis for the privilege Defendant
                        is invoking and provide a default privilege log to support the invocation of
                        such privilege.

                   iv. Provide any and all information or items which fall within the scope of the
                       request and against no objection is asserted or applicable.

     2. If no date or time is specified, assume it to be a period beginning with the date in which
        this document is responded to extending through the period for four (4) years prior to that
        date.

     3. The "Defendant", "You", or "Your" refers to the named Defendant, Caliber Home Loans,
        Inc.

     4. The "Plaintiff' or "Plaintiffs" refers to the named Plaintiffs, Steven R. Olson and
        Vincenza Olson.

     5. The "Complaint" refers to the most recent Complaint filed in the above styled action.

     6. The "Account" refers to Defendant's account number, loan number, or reference number
        xxx)ocx2653 .

     7. The "Debt" refers to the amount of money allegedly owed by the Plaintiffs on the
        Account.

     8. "Collections" or "Collection Activity" refers to any and all attempts to collect monies
        allegedly owed with regard to consumer debts or accounts by whatever means, including
        but not limited to phone calls, letters, and posting accounts with Credit Reporting
        Agencies such as but not limited to TransUnion, Equifax, or Experian.




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                                  REQUESTED ADMISSIONS

    1. The Defendant is a debt collector or creditor as defined by Fla. Stat. § 559.55(7).

    2. The Defendant is a debt collector as defined by 15 U.S.C. § 1692(a)(6).

    3. The Debt which is the subject of the above styled action was at all material times a
       "consumer debt" as defined in Fla. Stat. 559.55(6).

    4. The Debt which is the subject of the above styled action was at all material times a
       "consumer debt" as defined in 15 U.S.C. § 1692a(5).

    5. Defendant received a copy of the Notice of Representation sent by legal counsel on or
       about December 10, 2013.

    6. Defendant sent correspondence confirming knowledge of Plaintiffs' representation by
       legal counsel on or about October 20, 2014.

    7. Defendant telephoned Plaintiffs during calendar years 2013 to 2016.

    8. Defendant did not have the prior express consent of Plaintiff to use an automatic
       telephone dialing system to call the Plaintiff's cellular telephone.

    9. Defendant called Plaintiffs with telephone equipment that has the capacity to store or produce
       telephone numbers to be called using a random or sequential number generator and/or dialing
       calls without human intervention.

    10. At all times relevant to the complaint herein, the Defendant has used, controlled, and/or
        operated "automatic telephone dialing systems" as defined by the TCPA 47 U.S.C. §
        227(a)(1) and 47 C.F.R. 64.1200(f)(1).

    11. The Defendant's employees are not monitored by the Defendant in order to ensure
        compliance with the local, state, or federal laws, codes, or regulations with regard to
        Collection Activity.

    12. The Defendant's employees are not provided educational training in order to ensure
        compliance with the local, state, or federal laws, codes, or regulations with regard to
        Collection Activity.

    13. Plaintiffs explicitly, and in writing, revoked consent to be contacted on their cellular
        telephone by Defendant.

    14. Plaintiffs are entitled to actual damages in an amount to be determined at trial from
        Defendant, as a result of such intrusions and invasions of privacy.




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    ANSWERS OR OBJECTIONS, if any, must be served upon the undersigned attorney, at the
 below notes address, on or before forty-five (45) days after service of the Request for
 Admissions. Otherwise, these Statements shall be deemed admitted.

                                     THE LYONS LAW GROUP, P.A.

                                     /s/ Rebbecca A. Goodall
                                     Andrew M. Lyons, Esq.
                                     Florida Bar No.: 0011288
                                     Rebbecca A. Goodall, Esq.
                                     Florida Bar No.: 0115344
                                     4103 Little Road
                                     New Port Richey, FL 34655
                                     (727) 375-8900
                                     (727) 375-2334 (fax)
                                     Email Service: pleadings@lyonslawgroup.com
                                     Attorneys for Plaintiffs,
                                     Steven R. Olson and Vincenza Olson


                                CERTIFICATE OF SERVICE

 I hereby certify that a true and correct copy of the foregoing was furnished to the below named
 addressee via Service of Process, as follows:

 Caliber Home Loans, Inc.
 do CT Corporation System
 1200 S. Pine Island Rd.
 Plantation, FL 33324

                                     /s/ Rebbecca A. Goodall
                                     Rebbecca A. Goodall, Esq.




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